828 F.2d 18Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lewis A. WOODLIFE, Plaintiff-Appellant,v.Arnold HOPKINS, Commissioner, D.O.C., Howard Lyles, Warden,Bernard Smith, Asst. Warden, H. E. Rodgers, ClassificationSuper., Krispa Kashyap, M.D., Ph.D., Barbara Welsh, PrisonChief Psychologist, Walter Lassiter, P.C. Class Counselor,Raymond Keen, Class Counselor, Lucille Bagley, ClassCounselor, Clarence J. Guienze, Deputy Commissioner, D.O.C.,Lawrence Carpenter, Chief of Security; Ivy Russell, Cpl.,CO. II, Willie Ford, Cpl., CO II, Gary Carter, Sgt., CO II,C. Jobes, Cpl., CO II, Defendants-Appellees.
    No. 87-7100
    United States Court of Appeals, Fourth Circuit.
    Submitted July 30, 1987.Decided August 19, 1987.
    
      Lewis A. Woodliff, appellant pro se.
      Before DONALD RUSSELL, WIDENER and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Woodliff v. Hopkins, C/A No. 86-1343 (D. Md., Dec. 9, 1986).
    
    
      2
      AFFIRMED.
    
    